      Case 20-61126-sms         Doc 28-1 Filed 09/01/20          Entered 09/01/20 14:30:51           Desc Ntc.
                                    Re: DSO Obligations          Page 1 of 1

                                   UNITED STATES BANKRUPTCY COURT
                                        Northern District of Georgia
                                             Atlanta Division



In     Debtor(s)
Re:    Amy Elizabeth Barnes                               Case No.: 20−61126−sms
       886 Wanda Circle SW                                Chapter: 13
       Marietta, GA 30008

       xxx−xx−3518


                                  NOTICE TO CHAPTER 13 DEBTOR
                             REGARDING DOMESTIC SUPPORT OBLIGATIONS



      If you now have a domestic support obligation (an obligation to pay alimony, maintenance or support of your
spouse, former spouse, child or parent of your child (see 11 U.S.C. § 101(14A) for further explanation)) or if during
this case, a domestic support obligation is imposed upon you then, in order to receive your discharge, you must be
current (up−to−date) on all the payments for your domestic support obligation that:(1) came due before you filed
your bankruptcy petition and your Chapter 13 plan required you to pay, and (2) came due after you filed your
bankruptcy petition. See 11 U.S.C. § 1328(a). Before you receive your discharge you will be required to certify under
penalty of perjury that payments on your domestic support obligations are up−to−date by filing a Debtor's 11 U.S.C.
§ 1328 certificate. The Chapter 13 Trustee will provide a copy of this Certificate after you have completed all
payments on your confirmed Plan. IF YOU DO NOT FILE THIS CERTIFICATE YOU WILL NOT RECEIVE
A DISCHARGE AND THE CASE WILL BE CLOSED.

      This Notice will be served upon Debtor and counsel for Debtor.

September 1, 2020
Date




                                                          M. Regina Thomas
                                                          Clerk of Court
                                                          U. S. Bankruptcy Court



Form 427
